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 1   THOMAS A. JOHNSON, #119203
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 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Robert Duncan
 4
 5                       IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                )   Case No.: 2:12-cr-00255-GEB
 8   UNITED STATES OF AMERICA,                  )
                                                )
 9                Plaintiff,                    )   STIPULATION AND ORDER FOR
                                                )   CONTINUANCE OF JUDGMENT AND
10       vs.                                    )   SENTENCING
     MATTHEW ROWAN DAVIES, et al.,              )
11                                              )
                  Defendants.                   )
12                                              )
13
14         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15   Judgment and Sentencing scheduled for Robert Duncan and Lynn Smith on December
16   13, 2013, at 9:00 a.m. is continued to December 20, 2013, at 9:00 a.m. in the same
17   courtroom. The continuance is requested because defense counsel needs additional time
18   to prepare for the sentencing. Richard Bender, Assistant United States Attorney, Thomas
19   A. Johnson, attorney for Robert Duncan, and William Portanova, attorney for Lynn
20   Smith, agree to this continuance.
21
22   IT IS SO STIPULATED.
23
     DATED: December 6, 2013                         By:    /s/ Thomas A. Johnson
24                                                          THOMAS A. JOHNSON
                                                            Attorney for Defendant
25                                                          ROBERT DUNCAN
26   DATED: December 6, 2013                         By:    /s/ Thomas A. Johnson for
                                                            WILLIAM PORTANOVA
27                                                          Attorney for Defendant
                                                            LYNN SMITH
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 1
     DATED: December 6, 2013                        BENJAMIN B. WAGNER
 2                                                  United States Attorney
 3                                            By:   /s/ Thomas A. Johnson for
                                                    RICHARD BENDER
 4                                                  Assistant United States Attorney
 5
     IT IS SO ORDERED.
 6
 7   Dated: December 6, 2013
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